                                                      UNITED STATES BANKRUPTCY COURT
                                                            DISTRICT OF ARIZONA

In re                                                                       Case No. 2:18-bk-03224

Tiffany White                                                               CHAPTER 13 PLAN

                                                                            [X] Original
                                                                                Amended
                                                                                Modified
Debtor(s)
                                                                                Plan payments include post-petition mortgage payments
                                                                                Flat Fee / Administrative Expense
                                                                                Hourly / Administrative Expense


This Plan¹ includes the following (check all that are applicable):




 A limit on the amount of a secured claim, which may result in a partial payment or no payment to the secured creditor. See Section (C)(5)
(b).




 Avoidance of a judicial lien or nonpossessory, nonpurchase money security interest. See Section (C)(5)(c).


    Nonstandard Provisions. See Section (H).
Your rights may be affected by this Plan. Your claim may be reduced, modified or eliminated. If you object to the treatment of your claim
as proposed in this Plan or to any provision of this Plan, you must file a written objection by the deadline set forth below. The Bankruptcy
Court may confirm this Plan without further notice if no objection is filed and the order is approved by the Trustee. See Bankruptcy Rule
3015 and Local Rule 2084-13.
This Chapter 13 Plan is proposed by the above Debtor². The Debtor certifies that the information contained in this Plan is accurate. A
creditor who disagrees with the proposed treatment of its debt in this Plan must timely file an objection to the Plan and serve copies on the
Debtor, Debtor’s attorney (if any), and the Chapter 13 Trustee not less than 14 days after the date set for the first meeting of creditors, or
any continuation of such meeting, or 28 days after service of the Plan, whichever is later. See Local Rule 2084-9.
This Plan does not allow claims or alter the need for timely filing any claim. For a creditor to receive a distribution for an unsecured
claim, the creditor must file a proof of claim with the Court.
If confirmed, the Plan will modify the rights and duties of the Debtor and creditors, except secured creditors will retain their liens until the
earlier of payment of the underlying debt or Debtor’s discharge under Code § 1328³. If the case is dismissed or converted to another
chapter (for example, Chapter 7) without completion of the Plan, each lien shall be retained to the extent recognized by applicable
nonbankruptcy law.
Pre-petition defaults will be cured using the interest rate set forth in the Plan or Code § 511, if applicable. Any ongoing obligation will be
paid according to the terms of the Plan.

¹“Plan” includes the original plan and any amended or modified plan.
²If this is a joint case, then “Debtor” means both Debtors.
³“Code” means the United States Bankruptcy Code, 11 U.S.C. § 101 et. seq.


Local Form 2084-4 (12/17)                                                      Chapter 13 Plan                               Page 1




        Case 2:18-bk-03224-MCW                            Doc 23 Filed 04/19/18 Entered 04/19/18 12:45:06                        Desc
                                                          Main Document    Page 1 of 9
   This is an Amended or Modified Plan.

       The reason(s) why Debtor filed this Amended or Modified Plan:
       ____________________________________________________

       Summarize how the Plan varies from the last Plan filed:
       ____________________________________________________

(A) Plan Payments and Property to be Submitted to the Trustee.
       Plan payments start on April 19 , 2018. The Debtor shall pay the Trustee as follows:

       $100.00 each month for month 1 through month 5 .
       $500.00 each month for month 6 through month 12
       $___ each month for month ___ through month ___

       The proposed Plan duration is 60 months. The applicable commitment period is 36 months.
       See Code § 1325(b)(4). In addition to plan payments and, if applicable, mortgage conduit payments, Debtor will submit the following
       property to the Trustee:
       ____________________________________________________



(B) Trustee's Percentage Fee. The Trustee shall collect upon receipt a percentage fee from all plan payments (including mortgage payments)
and property received, not to exceed 10%.

(C) Adminstrative Expenses and All Claims.

       (1) Until the Court confirms the Plan the Trustee will make adequate protection payments under Section (C)(1)(a) below, mortgage
       conduit payments under Section (C)(1)(b), if applicable, and pay other sums as ordered by the Court. Other disbursements will be
       made after the Court confirms the Plan. Unless otherwise provided for in Section (H) below, disbursements by the Trustee shall be
       pro rata within classes and made in the following order:

              (a) Adequate protection payments to creditors secured by personal property.
              [X] None. If “None” is checked, the rest of Section (C)(1)(a) is not to be completed.
              Pursuant to Local Rule 2084-6, the Trustee is authorized to make monthly pre-confirmation adequate protection payments to a
              secured creditor without a Court order, provided the claim is properly listed on Schedule D, a secured proof of claim is filed
              that includes documentation evidencing a perfected security agreement, and the Debtor or creditor sends a letter to the Trustee
              requesting payment. The Trustee will apply adequate protection payments to the creditor’s secured claim. After confirmation,
              adequate protection payments will continue until the claim is paid in full, unless the confirmed Plan or a Court order specifies
              a different treatment. If a creditor disagrees with the amount of the proposed adequate protection payments or the Plan fails to
              provide for such payments, the creditor may file an objection to confirmation of this Plan and/or file a motion pursuant to
              Code §§ 362 or 363.
               Creditor          Property Description                      Collateral Value                  Monthly Pament



                  Nonstandard Provisions. See Section (H).


Local Form 2084-4 (12/17)                                                   Chapter 13 Plan                               Page 2




        Case 2:18-bk-03224-MCW                   Doc 23 Filed 04/19/18 Entered 04/19/18 12:45:06                              Desc
                                                 Main Document    Page 2 of 9
       (b) Mortgage Conduit Payments.
              None.
       The Trustee shall disburse Conduit Payments to a Real Property Creditor without regard to whether the Court has confirmed a
       Plan or the Real Property Creditor has filed a proof of claim. See Section (C)(4)(c) and Local Rule 2084-4.

(2) Administrative expenses. Code § 507(a)(2).

       (a) Attorney fees . Debtor’s attorney has agreed to:
            A flat fee of $4,500.00, of which $0.00 was paid before the filing of the case (See Local Rule 2084-3);
       (b) Additional Services. Counsel for the Debtor has agreed to charge a flat fee for the following additional services provided
       to the Debtor:
              (i) Before Confirmation:
                     Adversary proceedings $__
                     Lien Avoidance Actions $ __
                     Preparing and filing of any motion to sell property $ __
                     Other Flat Fees for $ __
                 (ii) After Confirmation:
                     Preparing and filing of Modified Plan $ __
                     Responding to motion to dismiss and attendance at hearings $ __
                     Adversary proceedings $__
                     Lien Avoidance Actions $__
                     Preparing and filing of any motion to sell property $__
                     Other Flat Fees for $__
       All other additional services will be billed at the rate of $ per hour for attorney time and $ __ per hour for paralegal time.
       Counsel will file and notice a separate fee application detailing the additional fees and costs requested. Counsel will include
       all time expended in the case in the separate fee application.

       (c) Other Professional Expenses:
       _________________________________

(3) Leases and Unexpired Executory Contracts.
 [X] None. If “None” is checked, the rest of Section (C)(3) is not to be completed.
 Pursuant to Code § 1322(b), the Debtor assumes or rejects the following lease or unexpired executory contract. For a lease or
 executory contract with sums owing, the arrearage will be cured by periodic plan payments.
 Unless the Court orders otherwise, the arrearage amount shall be the amount stated in the creditor’s allowed proof of claim.
 (a) Assumed.
 No interest will be paid on the prepetition arrearage unless otherwise stated in Nonstandard Provisions at Section (H). A creditor
 identified in this paragraph may mail to the Debtor all correspondence, notices, statements, payment coupons, escrow notices, and
 default notices concerning any change to the monthly payment or interest rate without such being a violation of the automatic stay.

   Creditor            Property Description                Estimated Arrearage Amount                   Arrearage Through Date



     Nonstandard Provisions. See Section (H).
 (b) Rejected.

                   Creditor                                                     Property Description

-NONE-

     Nonstandard Provisions. See Section (H).

 Case 2:18-bk-03224-MCW                     Doc 23 Filed 04/19/18 Entered 04/19/18 12:45:06                              Desc
                                            Main Document    Page 3 of 9
Local Form 2084-4 (12/17)                         Chapter 13 Plan              Page 3




        Case 2:18-bk-03224-MCW   Doc 23 Filed 04/19/18 Entered 04/19/18 12:45:06   Desc
                                 Main Document    Page 4 of 9
      (4) Creditors with a Security Interest in Real Property.


    None. If “None” is checked, the rest of Section (C)(4) is not to be completed.


      (5) Claims Secured by Personal Property or a Combination of Real and Personal Property.


    None. If “None” is checked, the rest of Section (C)(5) is not to be completed.
Claims under paragraphs (a) and (b) that are included in the plan payment will be paid concurrently and pro rata.


              (a) Unmodified Secured Claims.


    None. If “None” is checked, the rest of Section (C)(5)(a) is not to be completed.


              (b) Modified Secured Claims.
                    None. If “None” is checked, the rest of Section (C)(5)(b) is not to be completed.
               Secured creditors listed below shall be paid the amount shown below as the Amount to be Paid on Secured Claim, with
               such amount paid through the Plan payments. If the Plan proposes to pay a Secured Claim less than the amount asserted in
               the proof of claim, then the holder of the Secured Claim must file a timely objection to the Plan. If the principal amount of
               the creditor’s proof of claim is less than the Amount to be Paid on Secured Claim, then only the proof of claim amount will
               be paid. If a creditor fails to file a secured claim or files a wholly unsecured claim, the debtor may delete the proposed
               payment of a secured claim in the order confirming plan. The holder of a timely filed secured claim will retain its lien until
               the earlier of payment of the underlying debt determined under nonbankruptcy law or discharge under Code § 1328, at
               which time the lien will terminate and shall be released by the creditor. Any proposed adequate protection payments are
               provided for in Section (C)(1)(a) above.

                                                       Debt          Value of Collateral and       Amount to be Paid on          Proposed
               Creditor and Property Description
                                                      Amount           Valuation Method              Secured Claim             Interest Rate

               Wells Fargo Dealer Svc / 2016
                                                    $74,047.00 $65,765.00                        $50,000.00                   5.00%
               Porsche Cayanne

                    Nonstandard Provisions. See Section (H).
              (c) Lien Avoidance.
                    None. If “None” is checked, the rest of Section (C)(5)(c) is not to be completed.

Local Form 2084-4 (12/17)                                                   Chapter 13 Plan                                Page 4




        Case 2:18-bk-03224-MCW                   Doc 23 Filed 04/19/18 Entered 04/19/18 12:45:06                               Desc
                                                 Main Document    Page 5 of 9
      (6) Priority, Unsecured Claims, Other Than Debtor’s Attorney Fees.
             None. If “None” is checked, the rest of Section (C)(6) is not to be completed.
        (a) Unsecured Domestic Support Obligations. The Debtor shall remain current on such obligations that come due after filing the
        petition. Unpaid obligations before the petition date are to be cured in the plan payments. The amount to be paid will be adjusted to
        the creditor’s allowed claim amount, through the claim process. If the holder of a domestic support obligation disagrees with the
        treatment proposed in this Plan, the holder must file a timely objection.

                               Creditor                                                       Estimated Arrearage

       Michael Jagoda                                           pending proof of claim

        (b) Other unsecured priority claims.

              Creditor                         Type of Priority Debt                                    Estimated Amount

       IRS                     Tax Obligation                                       $pending proof of claim

             Nonstandard Provisions. See Section (H).
(D) Surrendered Property.


    None. If “None” is checked, the rest of Section (D) is not to be completed.


(E) Vesting. Except as stated in this paragraph, property of the estate shall vest in the Debtor upon confirmation of the Plan.
      [ ] The following property shall vest in the Debtor upon Plan completion:

                                                          Brief Description of Property




      [ ] Nonstandard Provisions. See Section (H).



Local Form 2084-4 (12/17)                                                   Chapter 13 Plan                                Page 5




        Case 2:18-bk-03224-MCW                    Doc 23 Filed 04/19/18 Entered 04/19/18 12:45:06                                 Desc
                                                  Main Document    Page 6 of 9
 (F) Tax Returns. While the case is pending, the Debtor shall provide to the Trustee a copy of any post-petition tax return within 14 days
 after filing the return with the tax agency. The Debtor has filed all tax returns for all taxable periods during the four-year period ending on
 the petition date, except:

                                                              Unfiled Tax Returns




(G) Funding Shortfall. Debtor will cure any funding shortfall before the Plan is deemed completed.


 (H) Nonstandard Provisions. Any Nonstandard Provision included herein must not be inconsistent with the Code or Local Rules and must
 identify the provision of the Plan being modified, the proposed modification and the justification for the modification. Any Nonstandard
 Provision placed elsewhere in this Plan is void. The Debtor submits the following provisions that vary from Section (C) of the Local Plan
 Form:
 [X] None. If “None” is checked, the rest of Section (H) is not to be completed.
 [ ] Provide the detail required above.

                                                             Nonstandard Provisions

  [State the provision(s) with reference to relevant paragraph(s)]




Local Form 2084-4 (12/17)                                                     Chapter 13 Plan                                Page 6




        Case 2:18-bk-03224-MCW                    Doc 23 Filed 04/19/18 Entered 04/19/18 12:45:06                                Desc
                                                  Main Document    Page 7 of 9
 (I) Plan Summary. If there are discrepancies between the Plan and this Plan Analysis, the provisions of the confirmed Plan control.

(1) Trustee’s Compensation (10% of Total of Plan Payments to Trustee)                                                             $7,721.37

(2) Administrative Expenses (§ (C)(2))                                                                                            $4,500.00

(3) Leases and Executory Contracts (§ (C)(3))                                                                                     $0.00

(4)(a) Conduit Mortgage Payments (§ (C)(4)(c))                                                                                    $0.00

(4)(b) Arrearage Claims Secured Solely by Real Property (§ (C)(4)(c))                                                             $0.00

(5)(a) Claims Secured by Personal Property or Combination of Real & Personal Property (§ (C)(5)) - Unmodified                     $0.00

(5)(b) Claims Secured by Personal Property or Combination of Real & Personal Property (§ (C)(5)) - Modified                       $50,000.00

(6) Priority Unsecured Claims (§ (C)(6))                                                                                          $0.00

(7) Unsecured Nonpriority Claims (§ (c)(7))                                                                                       $8,694.30

(8) Total of Plan Payments to Trustee                                                                                             $77,213.73


 (J) Section 1325 analysis.
       (1) Best Interest of Creditors Test:

(a) Value of Debtor’s interest in nonexempt property                                                                          $76,568.00

(b) Plus: Value of property recoverable under avoiding powers                                                                 $0.00

(c) Less: Estimated Chapter 7 administrative expenses                                                                         $0.00

(d) Less: Amount to unsecured priority creditors                                                                              $0.00

(e) Equals: Estimated amount payable to unsecured nonpriority claims if Debtor filed Chapter 7                                $76,568.00

       (2) Section 1325(b) Analysis:

(a) Monthly Disposable Income, Form B 122C-2 (if less than $0, then state $0                                                 $0.00

(b) Applicable commitment period                                                                                             x 60

(c) Total of Line (2)(a) amount x 60                                                                                         $0.00

(3) Estimated Payment to Unsecured, Nonpriority Creditors Under Plan                                                         $8,694.30


Certification by Debtor(s) and Attorney for Debtor(s): No changes were made to the Model Plan, other than the possible inclusion of
relevant Nonstandard Provisions in Section (H).

Dated: April 19, 2018
/s/ Tiffany White
Debtor                                                                                            Debtor

/s/ Nathan Finch
Attorney




Local Form 2084-4 (12/17)                                                  Chapter 13 Plan                               Page 7
        Case 2:18-bk-03224-MCW                  Doc 23 Filed 04/19/18 Entered 04/19/18 12:45:06                              Desc
                                                Main Document    Page 8 of 9
Case 2:18-bk-03224-MCW   Doc 23 Filed 04/19/18 Entered 04/19/18 12:45:06   Desc
                         Main Document    Page 9 of 9
